UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

AFFIDAVIT OF SERVICE

In Re: Case No.: 16-22556-rdd
(Chapter 13)
Justo Reyes
Assigned to:
Hon. Robert D. Drain
Debtor Bankruptcy Judge

 

STATE OF NEW YORK )
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

Amanda Fox-Schurl<us, being duly sworn, deposes and says that he/she is over eighteen years of age and
resides in the Town of Lancaster, New York.

That on December 7, 2018, deponent served the within Affidavit of Service by depositing a true copy
thereof, properly enclosed in a securely closed and duly post paid Wrapper in a depository regularly maintained by
the United States Postal Service in the City of Buffalo, New York, directed as follows:

Justo Reyes Debtor
90 Lakeview Ave
Hartsdale, NY 10530

Linda M. Tirelli Debtor Attorney
50 Main Street, Suite 405, Suite 405
White Plains, NY 10606

Jeffrey L. Sapir Chapter 13 Trustee
399 Knollwood Road, Suite 102
White Plains, NY 10603

Linda A. Riffkin, Esq. U.S. Trustee
201 Varick Street, Suite 1006

New York, NY 10014 r
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Amanda irl;`ox-Schurl<us

Sworn to before rne this 7th day
Of December, 2018

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